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          EXHIBIT 13
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN, et al.,

                      Plaintiffs,                 Civil Action No. 21-3354 (BAH)

                      v.                          Chief Judge Beryl A. Howell

RUDOLPH W. GIULIANI,

                      Defendants.



            DEFENDANTS RUDOLPH W. GIULIANI’S SECOND AMENDED
                    RULE 26(a)(1) INITIAL DISCLOSURES

       Defendant Rudolph W. Giuliani (“Giuliani” or “Defendant”), pursuant to Rule 26(a)(1) of

the Federal Rules of Civil Procedure, provides the following second amended initial disclosures

based on current knowledge and information reasonably available to him at this time. Giuliani

reserves the right to revise, supplement or otherwise update these disclosures.

        Initial Disclosure (i): The name and, if known, the address and telephone number of each
individual likely to have discoverable information—along with the subjects of that information—
that the disclosing party may use to support its claims or defenses, unless the use would be solely
for impeachment.

       The following individuals are believed to likely have discoverable information that

Giuliani may use to support his claims and/or defenses. Giuliani reserves the right to modify or

supplement this list of witnesses, to call at trial or for deposition any additional or different

witnesses, including rebuttal and impeachment witnesses, and to present testimony from witnesses

concerning other subject areas if the need for such testimony arises. By identifying any potential

witness, Giuliani does not adopt any testimony offered by such witness.
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Name and Contact Information (if known)        Subjects of Discoverable Information

                                               All causes of action.

1. Rudolph Giuliani
   c/o Joseph D. Sibley IV
   1108 Lavaca St,
   Ste 110263
   Austin, TX 78701

2. Ruby Freeman                                All causes of action.
   c/o
   WILLKIE FARR & GALLAGHER
   LLP
   1875 K Street NW
   Washington, DC 20006
   Tel: (202) 303-1000
   Fax: (202) 303-2000

3. Wandrea Moss                                All causes of action.
   c/o
   WILLKIE FARR & GALLAGHER
   LLP
   1875 K Street NW
   Washington, DC 20006
   Tel: (202) 303-1000
   Fax: (202) 303-2000

4. Jacki Pick                                 Was involved with providing Giuliani with
                                              information and discussing with Giuliani
   10134 Waller Drive, Dallas, TX 75229       allegations regarding Plaintiffs that Giuliani
                                              relied on in forming a good faith belief regarding
                                              the truth of any factual allegations regarding
                                              Plaintiffs and his opinions based on disclosed
                                              facts. See Giuliani’s deposition transcript and
                                              interrogatory answers for more detailed
                                              information.

5. Burt Jones                                 Was involved with providing Giuliani with
   Lieutenant Governor of Georgia             information and discussing with Giuliani
   240 State Capitol                          allegations regarding Plaintiffs that Giuliani
   Atlanta, GA 30334                          relied on in forming a good faith belief regarding
                                              the truth of any factual allegations regarding
                                              Plaintiffs and his opinions based on disclosed
                                              facts. See Giuliani’s deposition transcript and
                                              interrogatory answers for more detailed
                                              information.



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6. Jenna Ellis                                         Was involved with providing Giuliani with
   309 W. Washington Street                            information and discussing with Giuliani
   Suite 1250                                          allegations regarding Plaintiffs that Giuliani
   Chicago, IL 60606                                   relied on in forming a good faith belief regarding
                                                       the truth of any factual allegations regarding
                                                       Plaintiffs and his opinions based on disclosed
                                                       facts. See Giuliani’s deposition transcript and
                                                       interrogatory answers for more detailed
                                                       information.

7. Bernard Kerik                                       Was involved with providing Giuliani with
   c/o Timothy Parlatore                               information and discussing with Giuliani
   One World Trade Center                              allegations regarding Plaintiffs that Giuliani
   Suite 8500                                          relied on in forming a good faith belief regarding
   New York, New York 10007                            the truth of any factual allegations regarding
                                                       Plaintiffs and his opinions based on disclosed
                                                       facts. See Giuliani’s deposition transcript and
                                                       interrogatory answers for more detailed
                                                       information.

8. Ray Smith                                        Smith may have a copy of the video of Plaintiffs
   https://www.smithliss.com/lawyers/ray-smith.html that Giuliani initially reviewed.

9. Any witness disclosed by Plaintiffs                  N/A




        Initial Disclosure (ii): A copy—or a description by category and location—of all
documents, electronically stored information, and tangible things that the disclosing party has in
its possession, custody, or control and may use to support its claims or defenses, unless the use
would be solely for impeachment.

       a. Documents pertaining to the dispute surrounding vote counting in Fulton County,
          Georgia and evidence provided to government authorities.

       b. Witness statements regarding the vote counting in Fulton County, Georgia;

       c. Video recordings of Plaintiffs and others in the election facilities of Fulton County,
          Georgia;

       d. News reports regarding Plaintiffs and others in reference to their election work;

       e. Giuliani’s paper files that may contain information regarding Fulton County, Georgia
          and the 2020 Election; and

       f. Giuliani’s cell phones, iPad, laptops, and desktop computers to the extent they contain
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             emails, messages, or other documents regarding Fulton County, Georgia and the 2020
             Election.


         Initial Disclosure (iii): A computation of each category of damages claimed by the
 disclosing party—who must also make available for inspection and copying as under Rule 34, the
 documents or other evidentiary material, unless privileged or protected from disclosures, on which
 each computation is based, including materials bearing on the nature and extent of injuries
 suffered.

         N/A

       Initial Disclosure (iv): For inspection and copying as under Rule 34, any insurance
 agreement under which an insurance business may be liable to satisfy all or part of a possible
 judgment in the action or to indemnify or reimburse for payments made to satisfy the judgment.

         None.


                                                 Respectfully submitted,

                                                 By: /s/ Joseph D. Sibley IV

                                                          CAMARA & SIBLEY L.L.P.

                                                           Joseph D. Sibley IV
                                                           DC Bar ID: TX0202
                                                           1108 Lavaca St.
                                                           Suite 110263
                                                           Austin, TX 78701
                                                           Telephone: (713) 966-6789
                                                           Fax: (713) 583-1131
                                                           Email: sibley@camarasibley.com

                                                     ATTORNEYS FOR RUDOLPH W. GIULIANI


                                      CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of April, 2023, I served the foregoing document via email to all
counsel of record by agreement.


                                                 /s/ Joseph D. Sibley IV
                                                 Joseph D. Sibley IV




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